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IN THE UNITED STATES DISTRICT COURT FHDBV__

 

FOR THE wESTERN DISTRICT 05 TENNESSEE ""“'"'“D'c`
wESTERN DIVISION mims 29 m eggs
]HO\“-:L=S.»‘-J!.SOULD
UNITED STATES oF AMERICA G-%%§HSTR?CFUBT

Plaintiff,

`V' .

jE£K/ff ¢J. w./VE

Criminal No.d_§_.- ZJGQ§D

(30-Day Continuance)

 

 

 

 

Vvv~_r\/VVV~_,~_/V\_#VV~_/V`_/`_JV~_/

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I'IME

 

As indicated. by' the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act.- The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. Seotember 23, 2005, with trial to take place
on the October, 2005 rotation calendar With the time excluded under
the Speedy Trial Act through Octoher 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

This document entered on the docket sheet in compliance
Wzm mae 55 and/or az(b) FRch on ' '0

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SO ORDERED this 26th day of August, 2005.

m@QQL

 

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

saw/e-

%JL/'§/ 42_ AK\HN/

Asslstant United States Attorney

ref

 

 

 

 

Counsel for Defendant(s)

ISTRIC COUR - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:05-CR-20095 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

